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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 12-61963-CIV-DIMITROULEAS

 ELLEN RAAB,

        Plaintiff,

 vs.

 CREDITORS INTERCHANGE RECEIVABLES
 MANAGEMENT, LLC,

       Defendant.
 _____________________________________/


                      ORDER APPROVING VOLUNTARY DISMISSAL

        THIS CAUSE is before the Court upon Plaintiff’s Notice of Voluntary Dismissal Without

 Prejudice [DE 5], filed on December 3, 2012. The Court has carefully considered the Notice and

 is otherwise fully advised in the premises. Pursuant to Federal Rule of Civil Procedure

 41(a)(1)(A)(i), a plaintiff may dismiss an action without a court order “before the opposing party

 serves either an answer or a motion for summary judgment,” as is the case here.

        Accordingly, it is ORDERED AND ADJUDGED as follows:

        1.      Plaintiff’s Notice of Voluntary Dismissal Without Prejudice [DE 5] is

                APPROVED;

        2.      This action is hereby DISMISSED without prejudice;

        3.      The Clerk shall CLOSE this case and DENY all pending motions as moot.

        DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida this

 3rd day of December, 2012.
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 Copies furnished to:
 Counsel of record
